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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF ILLINOIS



UNITED STATES OF AMERICA,


Plaintiff,

v.

JESUS ORLANDO
MENDEZ-VELASQUEZ, et al.,


Defendants.                                        No. 12-cr-30242-DRH

                           MEMORANDUM & ORDER


HERNDON, Chief Judge:

      Now before the Court is the government’s motion to reschedule trial setting

of April 15, 2013 (Doc. 128). The government states that the Assistant United

States Attorney assigned to this case is unavailable April 15, 2013. On this basis,

the Court finds a new trial date is necessary. Thus, the Court GRANTS the

government’s motion to reschedule (Doc. 128). The jury trial is rescheduled from

April 15, 2013 to Monday, May 13, 2013, at 9:00.

      The Court again notes two co-defendants in this action have yet to be

arraigned, as Jose Ivan Mejia-Chavez and Maria Guadalupe Diaz-Lucas remain

fugitives. Further, no motion for severance of the remaining defendants has been

filed or granted in this case, meaning all defendants adhere to the same Speedy

Trial Act count. The Speedy Trial “clock” does not begin to run until the last co-


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defendant is arraigned. Thus, in this case, as there are two fugitives, the 70-day

window for conducting this trial has not yet begun under the Speedy Trial Act.

See United States v. Larson, 417 F.3d 741, 745 n.1 (7th Cir. 2005) (“In the

typical joint trial, the Speedy Trial clock begins when the last co-defendant is

arraigned.”) (citing United States v. Baskin-Bey, 45 F.3d 200, 203 (7th Cir.

1995)); Henderson v. United States, 476 U.S. 321, 323 n.2 (1986); 18 U.S.C. §

3161(h)(6)); United States v. Souffront, 338 F.3d 809, 835 (7th Cir. 2003) (The

Court found that the seventy-day clock commenced the day a fugitive-also the final

co-defendant in the case- was arraigned). Thus, since the Speedy Trial clock has

not begun to run, there is no need to account for excludable time due to trial

delays, such as when a trial is continued.

      Should any party believe that a witness will be required to travel on the

Justice Prisoner and Alien Transportation System (JPATS) in order to testify at

the trial of this case, a writ should be requested at least two months in advance.

Further, the parties shall notify the Court if a change of plea hearing is necessary.

      IT IS SO ORDERED.
                                                                      Digitally signed by
      Signed this 1st day of February, 2013.                          David R. Herndon
                                                                      Date: 2013.02.01
                                                                      16:01:29 -06'00'
                                                    Chief Judge
                                                    United States District Court




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